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[SEALED]

Office of the United States Attorney
‘District of Nevada

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Case 2:17-cr-00064-KJD-GWF

DANIEL G. BOGDEN

United States Attorney

District of Nevada

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U.S. MAGISTRATE JUDGE
BY.

 

UNITED STATES DISTRICT COURT

DISTRICT OF NEVADA
-o00-
UNITED STATES OF AMERICA, ) CaseNo.: — 2:17-mj-00093-VCF
)
Plaintiff ) PETITION FOR WRIT OF HABEAS
, ) CORPUS AD PROSEQUENDUM FOR
) SAMUEL BROWN
VS. ) (ID#) 365703
SAMUEL BROWN,
)
Defendant. )
)
)

 

 

 

The petition of the United States Attorney for the District of Nevada respectfully shows
that SAMUEL BROWN, is committed by due process of law in the custody of the Santa Fe
County Adult Correctional Facility, Santa Fe, New Mexico, that it is necessary that the said
SAMUEL BROWN be temporarily released under a Writ of Habeas Corpus Ad Prosequendum
so that the said SAMUEL BROWN may be present before the United States District Court for
the District of Nevada, Las Vegas, Nevada, on February 10, 2017, at the hour of 3:00 p.m., for

initial appearance/arraignment and plea and from time to time and day to day thereafter until

excused by the said Court.

That the presence of the said SAMUEL BROWN before the United States District Court

on or about February 10, 2017 at the hour of 3:00 p.m., for initial appearance/arraignment

 
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and plea and from time to time and day to day thereafter until excused by the Court has been
ordered by the United States Magistrate or District Judge for the District of Nevada.

WHEREFORE, petitioner respectfully prays that a Writ of Habeas Corpus Ad
Prosequendum issue out of this Court, directed to the Santa Fe County Adult Correctional Facility,
Santa Fe, New Mexico and to the United States Marshal for the District of New Mexico,
commanding them to produce the said SAMUEL BROWN before the United States District
Court on or about February 10, 2017, at the hour of 3:00 p.m., for initial appearance/arraignment
and plea and from time to time and day to day thereafter, at such times and places as may be
ordered and directed by the Court entitled above, to appear before the Court, and when excused
by the said Court, to be returned to the custody of the Santa Fe County Adult Correctional Facility,
Santa Fe, New Mexico.

DATED this Ist day of February, 2017.

Respectfully submitted,

DANIEL G. BOGDEN
United States Attorney

/s/ Susan Cushman

 

SUSAN CUSHMAN
Assistant United States Attorney

 
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UNITED STATES DISTRICT OB Ar
DISTRICT OF NENSABBA’ 4411, 95
-0Oo- U.S, MAGISTRATE

UNITED STATES OF AMERICA, ) Casego.: 9:XX-XXXXXXX-V CF
Plaintiff ) ORDER FOR ISSUANGE.OF
, ) WRIT OF HABEAS CORPUS
) AD PROSEQUENDUM FOR
VS. ) SAMUEL BROWN
) (ID#) 365703
SAMUEL BROWN, )
)
Defendant. )
)

 

 

 

Upon reading the petition of the United States Attorney for the District of Nevada, and
good cause appearing therefore,

IT IS HEREBY ORDERED that a Writ of Habeas Corpus Ad Prosequendum issue out of
this Court, directing the production of the body of the said SAMUEL BROWN before the United
States District Court at Las Vegas, Nevada, on or about February 10, 2017, at the hour of 3:00
p.m. for initial appearance/arraignment and plea and any further proceedings and from time to

time and day to day thereafter until excused by the said Court.

DATED: February _l[. 2017 > ~

UNITED STATES MAGISTRATE JUDGE

 

 
